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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                   AT LONDON

    MICHAEL H. WEISSER,
    801 N.E. 167thStreet, 2”dFloor
    North Miami Beach, FL 33162

           PLAINTIFF,

    V.

    CP HAZARD ASSOCIATES LIMITED PARTNERSHIP,
    6312 Kingston Pike            SERVE:   C T Corporation System
    Suite C                                Kentucky Home Life Bldg.
    Knoxville, TN 37919                    Louisville, Kentucky 40202

    and

    WAL-MART REAL ESTATE BUSINESS TRUST,
    702 S.W. fIthStreet          SERVE:                         CSC-Lawyers Inc.
    Bentonville, AR 72716                                       Services Co.
                                                                421 W. Main Street
                                                                Frankfort, Kentucky 4060 1

           DEFENDANTS.


                                  AMENDED COMPLAINT


           The Plaintiff, Michael H. Weisser (“Weisser”), for his complaint against

    Defendants, CP Hazard Associates Limited Partnership (“CPH’) and Wal-Mart Real

    Estate Business Trust (“Wal-Mart”), pleads as follows:

                                      NATURE OF CASE

           1.      This civil action is brought pursuant to Title 28 U.S.C.   8 2201 and Rule 57
    of the Federal Rules of Civil Procedure. Weisser seeks declaratory relief as to his rights

    and obligations with regard to a “Purchase Agreement” entered into by Weisser and

    Defendant CPH for the purchase of real property. Defendant CPH’s failure to honor the


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    Purchase Agreement constitutes a breach of contract. An actual controversy now exists

    between the parties.

                                                PARTIES

            2.      Upon commencement of this action and at all times relevant, Weisser was

    a resident of North Miami Beach, Florida.

            3.      Upon commencement of this action and at all times relevant, the

    Defendant CPH was a limited partnership organized and existing under the laws of the

    Commonwealth of Kentucky, and is engaged in the business of real estate management

    and commercial construction, and has its principal place of business at 6312 Kingston

    Pike, Suite C, Knoxville, Tennessee 37919.

            4.      Upon commencement of this action and at all times relevant, the

    Defendant Wal-Mart was a business trust organized and existing under the law of

    Delaware and has its principal place of business at 702 S.W. 8" Street, Bentonville,

    Arkansas 727 16.

                                            JURISDICTION

            5       As stated above, there is and was at all times relevant complete diversity

    of citizenship between the parties upon commencement of this action and at all times

    relevant to this action.

            6       The Purchase Agreement entered into between Weisser and CPH was for

    the purchase of certain commercial property located in Hazard, Perry County, Kentucky,

    and the amount in controversy between the parties exceeds seventy-five thousand dollars

    (%75,000.00),exclusive of interest and costs.




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             7.    Based upon the foregoing allegations, this Court would have jurisdiction

    over this subject matter in this action pursuant to Title 28 U.S.C.   9   1332.

                                                  VENUE

             8.    As stated above, there is now existing between the parties involved in this

    proceeding an actual justiciable controversy involving real property located in Hazard,

    Perry County, Kentucky, in which Weisser is entitled to have a declaration of his rights

    and further relief, including a mandatory injunction and specific performance due to the

    facts, conditions, and circumstances as subsequently set forth in this complaint.

             9.     Based upon the foregoing allegations, this Court would be the proper

    venue for the filing of this action.

                                           STATEMENT OF FACTS

             10.    On or about November 27, 2002, CPH and the Wal-Mart entered into a

    Lease Agreement (“the Wal-Mart Lease”) under which Wal-Mart leased from CPH

    certain real estate, buildings, and improvements (“Demised Premises”) located in Hazard,

    Perry County, Kentucky. A copy of the Wal-Mart Lease and its exhibits is attached

    hereto as “Exhibit A” and incorporated by reference. Wal-Mart prepared the Wal-Mart

    Lease.

             11.    Contained in the Wal-Mart Lease at Paragraph 32, Section N on page 19,

    is a provision that provides as follows:

             In the event Lessor enters into an agreement to sell the Demised Premises to an
             unrelated third party (said agreement is hereafter referred to as the “Sales
             Agreement”), it shall give Lessee a Right-of-First-Refusal to purchase the
             Demised Premises, on the same terms and conditions provided in the Sales
             Agreement. Lessee shall have twenty (20) days after receipt of a copy such
             agreement to exercise such right, which Lessee shall do by executing and
             delivering to Lessor an agreement containing the same business terms and
             conditions as the Sales Agreement. If Lessee shall not deliver such executed


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           agreement to Lessor within such twenty (20) days, then Lessee shall be deemed to
           have failed to exercise such right with respect to the Sales Agreement.

           12.    Pursuant to this Wal-Mart Lease provision, Wal-Mart would have twenty

    (20) days after receiving a copy of such Sales Agreement to exercise its Right-of-First-

    Refusal, which it would do by executing and delivering to CPH an agreement “containing

    the same business terms and conditions” as the Sales Agreement.

           13.     On or about October 28, 2003, Weisser and CPH entered into an

    Agreement of Purchase and Sale whereby CPH agreed to sell and convey to Weisser the

    same Demised Premises located in Hazard, Perry County, Kentucky, which were the

    subject of the Wal-Mart Lease. A copy of the Agreement of Purchase and Sale is

    attached hereto as “Exhibit B ’and incorporated by reference within numerical paragraph

    11 of this complaint.

           14.     The Agreement of Purchase and Sale (Exhibit B) constituted a bona tide

    offer to purchase as provided for under the terms of the Wal-Mart Lease, Section N as

    described above.

           15.     The Agreement of Purchase and Sale between Weisser and CPH made

    reference to the provision in the Wal-Mart Lease with respect to Wal-Mart’s option and

    thus contains a provision (the language of which was drafted by seller) entitled “Right-of-

    First-Refusal”, which recites that Wal-Mart has a right-of-first-refusal to purchase the

    Demised Premises as specified and outlined in the Wal-Mart Lease (Exhibit A). Pursuant

    to such right-of-first-refusal to purchase the Demised Premises, Wal-Mart was required to

    make a mirror offer; that is, on the “same business terms and conditions” as contained in

    the bona fide offer to purchase from the purchaser.




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           16      On or about November 11,2003, Weisser received a phone call from CPH

    advising that Wal-Mart had submitted a counteroffer to purchase the Demised Premises.

    Attached hereto and incorporated by reference herein is a copy of a partially executed

    Purchase Agreement ("Exh. C"),which represents a proposed purchase by Wal-Mart of

    the Demised Premises from CPH. Weisser immediately requested that CPH provide him

    with a copy of the proposed contract from Wal-Mart in order to review the terms and

    conditions of the Wal-Mart proposal. Weisser received and reviewed the Wal-Mart

    proposal contract.

            17.    The proposed Purchase Agreement between Wal-Mart and CPH does not

    contain the same business terms and conditions as the Agreement of Purchase and Sale

    between Weisser and CPH. In fact, the Wal-Mart offer falls far short of the beneficial

    terms in favor of the seller than are contained in the Weisser/CPH contract versus the

    Wal-MdCPH contract, and as such the proposal by Wal-Mart does not meet even a

    minimum criteria to constitute a valid exercise of the right-of-first-refusal granted to Wal-

    Mart in the Wal-Mart Lease. As examples of how the contracts differ, and how onerous

    the Wal-Mart proposal is as compared to the Weisser proposal, are the following:

           A.      Under the Wal-Mart proposal, Wal-Mart has a sixty (60) day right of

                   inspection and may withdraw from the contract anytime during the sixty

                   (60) days. In the Weisser contract, however, there is no inspection period,

                   Weisser having accepted the premises and the condition of title

                   unconditionally.

           B.      Wal-Mart provides that if, in fact, Wal-Mart defaults under the contract

                   with CPH, that the contract is cancelled. The Weisser contract provides



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                  that Weisser's $500,000.00 good faith deposit is forfeited to CPH in the

                  event of a default by Weisser.

            C.    The Wal-Mart contract requires CPH to make representations regarding

                  the environmental condition of the property now and in the future and

                  requires that CPH remain obligated for any costs necessary to remediate

                  the environmental problems. The Weisser contract does not require CPH

                  to make any environmental representations, nor does it place any liability

                  on CPH to remediate any environmental problems now or in the future.

            D.    Under the Wal-Mart proposal, Wal-Mart proposes to put $500,000.00 up

                  in a deposit or in a letter of credit, but in favor of an estoppel agent.

                  Under the Weisser proposal, Weisser has executed and delivered to CPH a

                  $500,000.00 Irrevocable Letter of Credit.

            18.   While there are numerous other instances in which the contracts diverge,

    the above examples represent some of the major differences, and clearly mandate that

    Wal-Mart has failed to make a proper bona fide offer as required by Wal-Mart's own

    language and terminology in the option that Wal-Mart drafted.        Thus, Wal-Mart's

    counteroffer should be rejected and the Weisser contract given full force and effect by

    this court.

            19.   Immediately after receiving the Wal-Mart proposal, and twenty (20) days

    having expired from the time of the contract between Weisser and CPH was executed,

    Weisser delivered to CPH the $500,000.00 Irrevocable Letter of Credit in favor of CPH

    in the form which the seller, CPH, approved (a copy of which is attached hereto and

    incorporated herein as "Exhibit D"), and also notified CPH that it was Weisser's belief




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    that the Wal-Mart proposal did not comform with the requirements of the buyhell option

    granted to Wal-Mart in the Wal-Mart Lease (See "Exhibit E" attached hereto).

                                      COUNT I
                               (DECLARATION OF RIGHTS)

           20.    Weisser adopts, reiterates, and incorporates by reference all facts and

    allegations contained in paragraphs 1 through 19 above.

           21.    Weisser has notified CPH that CPH's execution of the Purchase

    Agreement with Wal-Mart is an invalid exercise of the Right-of-First-Refusal granted to

    Wal-Mart in the Wal-Mart Lease, and that CPH should proceed to honor and comply

    with the terms of the Agreement of Purchase and Sale.

           22.    CPH has refused, and continues to refuse, to comply with the terms of the

    Agreement of Purchase and Sale between Weisser and CPH.

           23.     CPH has advised that it intends to proceed to convey and transfer the

    Demised Premises pursuant to an agreement with Wal-Mart.

           24.    Weisser has performed all of the conditions of the Agreement of Purchase

    and Sale that are required to be performed by Weisser and/or to otherwise require CPH's

    performance under their Agreement of Purchase and Sale.

           25.    An actual controversy has arisen and now exists between Weisser and

    Defendants regarding their respective rights and duties under the Agreement of Purchase

    and Sale between Weisser and CPH, and the unexecuted Purchase Agreement between

    CPH and Wal-Mart.

           26.    Weisser desires a judicial determination of his rights and duties under the

    Agreement of Purchase and Sale, and a declaration as to the validity of the Purchase




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    Agreement between Defendants, pursuant to the Right-of-First-Refusal terms in the

    subject agreements.

                                         COUNT I1
                                 (SPECIFIC PERFORMANCE)

           27.      Weisser adopts, reiterates, and incorporates by reference all facts and

    allegations set forth in paragraphs 1 through 26 above.

           28.      Weisser has performed all conditions precedent under the Agreement of

    Purchase and Sale between Weisser and CPH; has demanded a conveyance of the

    Demised Premises; and is entitled to specific performance of the Agreement of Purchase

    and Sale, but CPH failed and refused, and still fails and refuses to honor the Agreement

    of Purchase and Sale, or to execute and deliver the Demised Premises to Weisser

    pursuant to the terms of the WeisserKPH contract.

           29.      Weisser has no adequate remedy at law because the Agreement of

    Purchase and Sale is a contract for the sale of real property.

                                        COUNT I11
                                  (BREACH OF CONTRACT)

           30.      Weisser adopts, reiterates, and incorporates by reference all the facts and

    allegations set forth in paragraphs 1 through 29 above.

           3 1.     Weisser has fully performed all the terms, conditions and requirements of

    the contract.

           32.      CPH has breached the terms and has told Weisser that it does not intend to

    honor its obligations therein or convey the property to Weisser.

           33.      By reason thereof, CPH has breached the contract and Weisser has

    sustained damages therein, which damages exceed the sum of $75,000.00.




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                                    PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, Michael H. Weisser, hereby demands relief as follows:

           1.      A declaration by the court as to the rights and duties of the parties herein

    under the Wal-mart Lease, the Agreement of Purchase and Sale, and the Purchase

    Agreement documents, confirming the superior rights of Weisser under the Agreement of

    Purchase and Sale to acquire the Demised Premesis.

           2.      An injunction to enjoin Defendants, Wal-Mart and CPH, from proceeding

    to convey the Demised Premises pursuant to the Purchase Agreement.

           3.      That this court order CPH to perform according to the terms of the

    Agreement of Purchase and Sale between Weisser and CPH, and convey the Demised

    Premises to Weisser.

           4.      A trial by jury on all genuine issues of material fact, if any.

            5.     Pursuant to the contract between CPH and Weisser, the contract provides

    for payment of attorney's fees to the prevailing party. Weisser has retained a law firm of

    Farmer, Kelley, Brown, Williams & Breeding, and has agreed to pay them a reasonable

    attorney's fee. Accordingly, Weisser would ask for all costs, expenses and attorney's

    fees that he incurs.

            6.     For any and all additional relief to which Weisser may appear entitled.




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                                                     Respectfully submitted,

                                                     Farmer, Kelley, Brown, Williams & Breeding
                                                     502 West Fifth Street
                                                     P.O. Drawer 490
                                                     London, Kentucky 40743-0490
                                                     Telephone: (606) 878-7640




                                                               H OLD F. DYCHE I1
                                                               Counsel for Plaintiff,
                                                               Michael H. Weisser

     HFD/BLB/cmm: 01 1304 Complaint (Weisser v. CP Hazard Assoc. & Wal-Mart)cac




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